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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

EDWARD BRAGGS, et al.                      )
                                           )
               Plaintiffs,                 )
                                           )
v.                                         )       CIVIL ACTION NO.
                                           )       2:14-cv-00601-MHT-JTA
JOHN Q. HAMM, in his official              )       Judge Myron H. Thompson
capacity as Commissioner of the            )
Alabama Department of Corrections,         )
et al.                                     )
                                           )
               Defendants.                 )

                  JOINT REPORT ON PARTIES AGREEMENT
                  TO MODIFICATIONS TO THE SMI REPORT

       This Court’s July 20, 2022 Order (Doc. 3667) directed the Parties to work with

Judge Ott regarding plaintiffs’ proposal for modifying the report concerning “revising

of the format of the weekly SMI reports”. The Parties conferred and with the assistance

of Judge Ott have agreed to implement the State’s Proposal for a Revised Format of

the Weekly SMI Reports (Doc. 3621) along with additions from Plaintiffs’ Proposal

on Revising the Weekly SMI in Restrictive Housing Reports (Doc. 3624). The

additional information to be included from Plaintiffs’ Proposal includes the following

data fields:

       1. the prisoner’s relevant status (investigative, disciplinary or preventative);

       2. the reason for exceptional circumstance(s) (such as return from crisis);

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      3. SMI status;

      4. if the inmate remains in RHU at the time of the end of the period of reporting;

      5. bed assignment; and

      6. a narrative statement explaining the event(s) giving rise to the exceptional

          circumstance(s) as have been included in the previous SMI in RHU reports.

      The report shall be for a week, beginning on Monday and ending on Sunday.

The report shall be filed with the Court on the Tuesday following the week after the

reporting period. For example, if the report covers the period of August 1 – 7, the report

would be filed with the Court on August 16th. The State requests twenty-one (21) days

from the date of the order to transition to the new report.



  Dated: August 5, 2022                     Respectfully Submitted,

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